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 5                       IN THE UNITED STATES DISTRICT COURT
 6                               FOR THE DISTRICT OF ARIZONA
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 8    Kashane Kirk, as personal representative and     No. CV 23-00836 PHX MTL (CDB)
      on behalf of the estate of Leontae Kirk,
 9    Sharon Roberts, Brittnie Turner, as legal        ORDER
      guardian and parent of her minor child on
10    behalf of M.C.,
11                          Plaintiffs,
12    v.
13    City of Phoenix, et al.,
14                          Defendants.
15
16          Pursuant to the stipulation of the parties at ECF No. 14,
17          IT IS ORDERED that Defendants shall have until October 2, 2023, to answer or
18   otherwise respond to the Complaint.
19          Dated this 7th day of August, 2023.
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